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                                           5                               IN THE UNITED STATES DISTRICT COURT
                                           6                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                           8   TAMARA DOUKAS,                                         No. C 08-02336 SI
                                           9                  Plaintiff,                              ORDER STAYING CASE
                                          10     v.
For the Northern District of California




                                          11   COUNTY OF SAN MATEO, et al.,
    United States District Court




                                          12                  Defendants.
                                                                                           /
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                                          14           On October 9, 2008, this Court ordered the parties to show cause why this case should not be

                                          15   stayed until the parallel case in San Mateo Superior Court is resolved. [Docket No. 34] Pursuant to

                                          16   Civil Local Rule 7-1(b), the Court finds this matter appropriate for resolution without oral argument.
                                          17   Having considered the papers submitted, and for good cause shown, the Court hereby STAYS this case
                                          18   until the parallel proceeding in San Mateo Superior Court is resolved.
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                                          20                                             BACKGROUND
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                                          22           On August 2, 2006, plaintiff brought her dog, Kodiak, to the San Mateo Animal Hospital, a
                                          23   private institution. Kodiak was subsequently euthanized in the presence of Debi Denardi, an animal
                                          24   control officer with the Peninsula Humane Society. Complaint, ¶¶ 4, 9. Plaintiff contends that her dog
                                          25   was killed without her permission and that its health condition did not warrant euthanasia. Id., ¶¶ 7-9.
                                          26   Plaintiff filed her initial complaint in San Mateo Superior Court in February, 2007. The defendants in
                                          27   the state action are: the County of San Mateo, the Peninsula Humane Society, Debi Denardi, Kim
                                          28   Haddad, KKH Inc., Spike Real Estate, and Does 3-50.
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                                           1          The state court complaint has been revised a number of times. In her fifth amended state court
                                           2   complaint, filed on October 7, 2008, plaintiff alleges claims for (1) violation of Cal. Civ. Code § 52.1
                                           3   (interference with the enjoyment of individual rights), (2) intentional infliction of emotional distress,
                                           4   (3) conversion, (4) false imprisonment, (5) negligent hiring, (6) professional negligence, and (7)
                                           5   injunctive relief. Decl. of Daniel Berko in Supp. of Pl. Reply Re: Jurisdiction (“Berko Decl.”), at ex.
                                           6   B. Defendants have until November 19, 2008 to respond to plaintiff’s fifth amended state court
                                           7   complaint. Decl. of Daniel Berko in Supp. of Pl. Resp. to Stay (“Berko Decl. II”), ¶ 2. According to
                                           8   defendants, trial of the state court action is set for March 30, 2009.
                                           9          Plaintiff filed this action in federal court on May 6, 2008, more than a year after litigation in the
                                          10   state matter began. Her federal action is against the same defendants and arises from the same incident
For the Northern District of California




                                          11   on August 2, 2006. Plaintiff’s claims in this case arise are for (1) violation of Cal. Civ. Code § 52.1,
    United States District Court




                                          12   (2) intentional infliction of emotional distress, (3) conversion, (4) false imprisonment, and (5) violation
                                          13   of 42 U.S.C. § 1983.
                                          14          On October 9, 2008 this Court found plaintiff sufficiently alleged that Denardi acted under color
                                          15   of state law and that the seizure of plaintiff’s dog constituted a violation of the Fourth Amendment.
                                          16   Accordingly, the Court held plaintiff had properly alleged a claim under 42 U.S.C. § 1983 and that the
                                          17   Court had federal subject-matter jurisdiction over this case. [Docket No. 34] Now before the Court are
                                          18   the parties’ responses to the Court’s order to show cause why this case should not be stayed until the
                                          19   state matter is resolved.
                                          20
                                          21                                            LEGAL STANDARD
                                          22          With concurrent state cases involving the same matter as in federal district court, considerations
                                          23   of “wise judicial administration, giving regard to conservation of judicial resources and comprehensive
                                          24   disposition of litigation, may counsel granting a stay” of the federal proceeding. Intel Corp. v. Advanced
                                          25   Micro Devices, 12 F.3d 908, 912 (9th Cir. 1993) (citing Colorado River Water Conservation Dist. v.
                                          26   United States, 424 U.S. 800, 817 (1976)). “Only exceptional circumstances justify such a stay, and
                                          27   whether these circumstances exist is determined by weighing a complex of factors.” Id. (citing Moses
                                          28   H. Cone Memorial Hosp. v. Mercury Const. Corp., 460 U.S. 1, 16 (1983)). The factors include: (1) the

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                                           1   desirability of avoiding piecemeal litigation, (2) the order in which jurisdiction was obtained by the
                                           2   concurrent forums, (3) whether federal or state law controls the decision on the merits, and (4) whether
                                           3   the state court can adequately protect the rights of the parties. See Moses H Cone Hospital, 460 U.S.
                                           4   at 24, 27. In addition, the federal court may consider “whether exercising jurisdiction would promote
                                           5   forum shopping.” Holder v. Holder, 305 F.3d 854, 870 (9th Cir. 2002).
                                           6           “When a district court decides to dismiss or stay under Colorado River, it presumably concludes
                                           7   that the parallel state-court litigation will be an adequate vehicle for the complete and prompt resolution
                                           8   of the issues between the parties. If there is any substantial doubt as to this, it would be a serious abuse
                                           9   of discretion to grant the stay or dismissal at all.” Intel Corp., 12 F.3d at 913 (emphasis in original).
                                          10
For the Northern District of California




                                          11                                                DISCUSSION
    United States District Court




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                                          13           Defendants argue that judicial efficiency weighs in favor of staying this case until the state
                                          14   matter is resolved. Plaintiff filed her complaint in San Mateo Superior Court more than a year before
                                          15   initiating the federal action. The two cases arise from the same incident at the San Mateo Animal
                                          16   Hospital at August 2, 2006, and involve the same parties. Defendants stated at oral argument on
                                          17   October 3, 2008 that trial in the state case is set for March, 2009. The only cause of action that will not
                                          18   be decided by the state case is plaintiff’s claim under 42 U.S.C. § 1983.
                                          19           Plaintiff raises two arguments against staying this action. The first is that she prefers federal
                                          20   court as a forum to litigate her claims. Plaintiff states that she “makes no bones about the fact that she
                                          21   is forum stopping” but contends that she is shopping in the “constitutionally authorized” sense of
                                          22   seeking the most sympathetic and knowledgeable forum for her federal rights. Pl. Resp. to Order to
                                          23   Show Cause Re: Stay, at 10. In support of her argument that federal court is a more suitable forum,
                                          24   plaintiff contends that the San Mateo Superior Court is irreconcilably biased against her. While
                                          25   maintaining that the presiding judge in the state matter “acted at all times with only the highest
                                          26   integrity,” plaintiff alleges that the judge has a conflict of interest because she appointed defendant
                                          27   Denardi to her position. See Berko Decl. II, ¶ 5. Plaintiff’s counsel states, “I do not believe [San Mateo
                                          28   Superior Court] can provide an impartial forum for my client’s claims.” Id., ¶ 6. Counsel also indicates

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                                           1   that he is moving to disqualify the San Mateo County Superior Court from hearing plaintiff’s case. Id.,
                                           2   ¶ 6. He has made repeated offers to defendants to dismiss the state claims in exchange for an agreement
                                           3   to allow this case to proceed in federal court. See Berko Decl., at ex. D.
                                           4           Plaintiff essentially asks this Court, based on allegations by counsel, to question the integrity of
                                           5   the San Mateo Superior Court and thereby excuse plaintiff’s blatant forum shopping. The Court will
                                           6   not do so. More than a year into litigation in the state case, plaintiff decided that federal court would
                                           7   be a more desirable forum to litigate her claims. Plaintiff’s change of heart is not a valid justification
                                           8   for the considerable waste of judicial resources in allowing two parallel matters involving the same
                                           9   parties and arising from the same facts.
                                          10           Plaintiff’s second argument is that under Intel Corp., the Court must find that the state court
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                                          11   litigation will be an adequate vehicle for the complete and prompt resolution of the issues between the
    United States District Court




                                          12   parties. According to plaintiff, the “most fundamental issue” in this case is whether plaintiff’s Fourth
                                          13   Amendment rights were violated, and this factor weighs in favor of this Court asserting jurisdiction.
                                          14   Pl. Response to Order to Show Cause Re: Stay, at 4.
                                          15           The Court has already asserted jurisdiction over plaintiff’s federal cause of action. The issue
                                          16   is whether this Court should stay plaintiff’s federal cause of action in order for the substantially more
                                          17   advanced state court proceeding, which is set for trial in five months, to determine the common factual
                                          18   issues between the two cases. The one issue that will not be decided in the state case is whether
                                          19   plaintiff’s Fourth Amendment rights were violated by the purportedly unlawful seizure of her dog.
                                          20   Factual determinations in the state court proceeding, including Denardi’s level of involvement in the
                                          21   euthanasia, will be highly relevant to this issue as well.
                                          22           Plaintiff has presented no convincing reasons that overcome the likelihood of piecemeal
                                          23   litigation arising from the same set of facts and the fact that plaintiff’s state case was initiated long
                                          24   before the federal case began. While this court has an “unflagging obligation” to exercise jurisdiction
                                          25   when a claimant seeks relief under 42 U.S.C. § 1983, see Tovar v. Billmeyer, 609 F.2d 1291, 1293 (9th
                                          26   Cir. 1980), this Court has already fulfilled that obligation by asserting jurisdiction over plaintiff’s Fourth
                                          27   Amendment claim. The Court does not have an obligation to participate in plaintiff’s flagrant forum
                                          28   shopping, and in fact must discourage such shopping. See Holder, 305 F.3d at 870.

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                                           1          Accordingly, this case is STAYED until the resolution of the parallel proceeding in San Mateo
                                           2   Superior Court. The parties are ORDERED to provide this Court with a Joint Status Report every 60
                                           3   days, to advise this Court of the status of the state court proceeding.
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                                           5          IT IS SO ORDERED.
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                                           7   Dated: November 10, 2008
                                                                                                                 SUSAN ILLSTON
                                           8                                                                     United States District Judge
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                                          10
For the Northern District of California




                                          11
    United States District Court




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